       2:16-cv-11933-GAD-SDD          Doc # 25        Filed 03/10/17   Pg 1 of 1   Pg ID 104




                             UNITED STATES DISTRICT COURT
                         IN THE EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


MARC BEGININ,
    Plaintiff

-vs-                                                    Case No. 2:16-CV-11933
                                                        Hon. Gershwin A. Drain
                                                        Magistrate Judge: Stephanie Dawkins Davis

EQUIFAX INFORMATION SERVICES, LLC
     Defendant

                           STIPULATED ORDER OF DISMISSAL

        Having been advised by the stipulation of the parties below, it is ordered that the claims

against Equifax Information Services, LLC are dismissed with prejudice and without costs,

sanctions, or attorney fees to any party.

        The court retains jurisdiction for purposes of enforcing the settlement in this matter.

        So ordered.

                                                        /s/Gershwin A Drain
                                                        Honorable Gershwin A. Drain


Stipulated To By:

 s/ Kendall Carter                                    s/ Priya Bali
 Kendall Carter                                       Priya Bali
 King & Spalding LLC                                  LYNGKLIP & ASSOCIATES
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